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                                                            FILED: October 14, 2010


                            UNITED STATES COURT OF APPEALS

                                   FOR THE FOURTH CIRCUIT

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                                       No. 07-4059 (L)
                                     (8:04-cr-00235-RWT)
                                     ___________________


        UNITED STATES OF AMERICA

                                   Plaintiff - Appellee

        v.

        LEARLEY REED GOODWIN, a/k/a Goodie, a/k/a Lonnie Ross

                                   Defendant - Appellant

                                     __________________

                                          O R D E R
                                     ___________________

              Upon consideration of submissions relative to the motion to

        proceed with a deferred appendix pursuant to Rule 30(c) of the

        Federal Rules of Appellate Procedure, and the motion to extend

        the time for filing the opening brief,the Court grants the

        motions. The clerk shall establish a briefing schedule in

        accordance with this Court's procedures.

                                                       For the Court--By Direction

                                                      /s/Patricia S. Connor, Clerk
